Case 1:20-cv-12308-RGS Document 25-1 Filed 11/12/21 Page 1 of 5




            EXHIBIT A
    Case 1:20-cv-12308-RGS Document 25-1 Filed 11/12/21 Page 2 of 5




                           American Arbitration Association




In the Matter of the Arbitration between

DAMON IMMEDIATO, Claimant

              and

POSTMATES, INC., Respondent

AAA Case No. 01-20-0002-4441


                                           AWARD

         By notice sent on September 17, 2021, Claimant Damon Immediato accepted
Postmates' Offer of Judgment Pursuant to Federal Rule of Civil Procedure 68 and
Massachusetts Rule of Civil Procedure 68 that had been proffered on September 9,
2021. The terms of the Offer of Judgment are expressly incorporated in this Award. As a
result, judgment is entered and this arbitration is dismissed.


                                                          Mark L. Irvings
                                                          November 8, 2021
                    Case 1:20-cv-12308-RGS Document 25-1 Filed 11/12/21 Page 3 of 5


            1

            2

            3                        AMERICAN ARBITRATION ASSOCIATION

            4
                 DAMON IMMEDIATO,
            5                                                AAA No. 01-21-0002-4441
                                   Claimant,
            6
                      v.
            7                                                POSTMATES’ OFFER OF JUDGMENT
                 POSTMATES INC.,                             UNDER FEDERAL RULE OF CIVIL
            8                                                PROCEDURE 68 AND MASSACHUSETTS
                                   Respondent.               RULE OF CIVIL PROCEDURE 68
            9

           10

           11                                      THEANE EVANGELIS, SBN 243570
                                                    tevangelis@gibsondunn.com
           12                                      DHANANJAY S. MANTHRIPRAGADA, SBN 254433
                                                    dmanthripragada@gibsondunn.com
           13                                      MADELEINE F. MCKENNA, SBN 316088
                                                    mmckenna@gibsondunn.com
           14                                      GIBSON, DUNN & CRUTCHER LLP
                                                   333 South Grand Avenue
           15                                      Los Angeles, CA 90071-3197
           16                                      MICHELE L. MARYOTT, SBN 191993
                                                     mmaryott@gibsondunn.com
           17                                      SHAUN A. MATHUR, SBN 311029
                                                     smathur@gibsondunn.com
           18                                      GIBSON, DUNN & CRUTCHER LLP
                                                   3161 Michelson Drive
           19                                      Irvine, CA 92612-4412
           20                                      Attorneys for Respondent POSTMATES, LLC F/K/A
                                                   POSTMATES INC.
           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &
Crutcher LLP

                                               POSTMATES’ OFFER OF JUDGMENT
                      Case 1:20-cv-12308-RGS Document 25-1 Filed 11/12/21 Page 4 of 5


            1           Pursuant to Rule 68 of the Federal Rules of Civil Procedure and Rule 68 of the Massachusetts
            2    Rules of Civil Procedure, Respondent Postmates, LLC f/k/a Postmates Inc. (“Postmates”) hereby offers
            3    that judgment be taken against Postmates in the above-captioned action in the total amount of three
            4    thousand, five hundred dollars ($3,500), inclusive of all recoverable costs, attorneys’ fees, interest, and
            5    other monetary relief of any kind of Claimant Damon Immediato, in total satisfaction of Claimant’s
            6    claims against Postmates in this action.
            7           Claimant is required to serve written notice of acceptance of this offer within fourteen (14) days
            8    following service of the offer, absent which this offer shall be deemed rejected. If Claimant does not
            9    accept this offer and fails to obtain a more favorable judgment, he may not recover his costs (including
           10    attorneys’ fees, expert services, costs incurred during trial, and other such costs and fees as the
           11    Arbitrator deems proper) and will be obligated to pay Postmates’ costs (including attorneys’ fees)
           12    incurred after the making of this offer. See Fed. R. Civ. P. 68; Mass. R. Civ. P. 68. If Claimant accepts
           13    this offer, Postmates will file the offer and notice of acceptance with the Arbitrator, who will enter a
           14    judgment on the claims in this action in the total amount provided above, and with no further remedies,
           15    damages, costs, attorneys’ fees, or other monetary relief awarded to Claimant on his claims against
           16    Respondent.
           17           This offer of judgment is made for the purposes specified in Federal Rule of Civil Procedure
           18    68 and Massachusetts Rule of Civil Procedure 68, and shall not be construed as either an admission
           19    that Postmates is liable in this or any other action, or that Claimant or anyone else has suffered any
           20    damages. The judgment shall expressly acknowledge that it does not constitute a finding of liability
           21    against Respondent with respect to any of the claims at issue in this action. Evidence of this offer is
           22    not admissible except in a proceeding to determine costs and/or fees.
           23

           24    Dated: September 9, 2021
           25

           26                                                   By: /s/ Theane Evangelis
                                                                                  Theane Evangelis
           27
                                                                Attorneys for Respondent POSTMATES, LLC f/k/a
           28                                                   POSTMATES INC.

Gibson, Dunn &
Crutcher LLP                                                         2
                                                    POSTMATES’ OFFER OF JUDGMENT
    Case 1:20-cv-12308-RGS Document 25-1 Filed 11/12/21 Page 5 of 5




                AMERICAN ARBITRATION ASSOCIATION
_______________________________
                              )
DAMON IMMEDIATO,              )
            Claimant,         )
                              )
v.                            ) AAA No. 01-21-0002-4441
                              )
POSTMATES INC.,               )
            Respondent.       )
______________________________)

            NOTICE OF ACCEPTANCE OF OFFER OF JUDGMENT
          PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 68

       The Claimant, Damon Immediato, hereby gives notice that he has accepted the

Offer of Judgment served on him by the Respondent, Postmates, Inc.



                                            Respectfully submitted,

                                            DAMON IMMEDIATO,
                                            By his attorneys,


Dated: September 17, 2021                   /s/ Michelle Cassorla___________
                                            Shannon Liss-Riordan, BBO #640716
                                            Michelle Cassorla, BBO # 688429
                                            LICHTEN & LISS-RIORDAN, P.C.
                                            729 Boylston Street, Suite 2000
                                            Boston, MA 02116
                                            (617) 994-5800
                                            Email: sliss@llrlaw.com
                                                   mcassorla@llrlaw.com


                            CERTIFICATE OF SERVICE

        I hereby certify that a true copy of this document was served upon counsel of
record for the Respondent in the above-referenced matter, by e-mail on September 17,
2021.

                                            /s/ Michelle Cassorla___________
                                            Michelle Cassorla
